                Case 1:10-cr-00251-JRH-BKE Document 921 Filed 04/13/15 Page 1 of 1
                          Motionfor Scnrence
AO24.1(1a1]1)OrderReaardrna                Reduction     1ol8 U.S C $ 3582(cX2)
                                                   Pursuant                                                        PageI of2 (Ia8e 2 Not for PublicDasclosure)



                                                      UNITED STATESDISTRICTCOURT                                   r,.$.                  COURT
                                                                 for the
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                                                         SouthemDistrict of Georgia                              20t5tPR
                                                                                                                       l3 Alfll:33
                                                              AugustaDivision
                    United Statesof America

                                                                           C a s e N o :C R 1 1 0 - 0 0 2 5 1 - 0 0 9
                      Robert Lee Belton, Jr.
                                                                           USMNo: 16619-021
Date of Original Judgment:   November3. 2011                               JamesT. Jones,Jr.
DateofPreviousAmendedJudgment:Not Applicable                               f)efendanr-r Atromey
luse Date aJ Last Anended Judgment ifAny)


                     Order Regarding Motion for SentenceReduction Pursuant to 18 U.S.C. $ 3582(c)(2)

        Uponmotion of Itne defendant!the Directorof the Bureauof PrisonsIthe court under 18 U.S.C.
$ 3582(cX2)  for a reduction in the term of imprisonmentimposedbasedon a guideline sentencingrange that has
subsequently  beenloweredand maderetroactiveby the United StatesSentencing          Commissionpursuantto 28 U.S.C.
S 994(u), and having  considered  such motion, and taking into account the  policy statementset forth at USSG $ I B 1.10 and
the sentencingfactors set forth in l8 U.S.C. $ 3553(a),to the extent that they are applicable.

fT fS ORDI,RED thatthe motionis:
 flnENtEO.  flCnaNfEO     and the defendant'spreviously imposed sentenceof imprisonment1as     in thelastiudsmenl
                                                                                         rcnected
                i:suedof 158 months is reduced to                           rz / monrns



                                            (ComplereParts I and II of Page 2 when motion is granted)




Except as otherwiseprovided above, all provisionsofthe judgment dated              November3.2011.           sballremainin effect.
IT IS SO ORDERED.
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order
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EffectiveDate: November1.2015                                              United StatesDistrict Judee
                      li"fdiJbrcnt from order date)                                               Prinled name ancl title
